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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA al

CIVIL MINUTES - GENERAL

 

Case No. CV 91-589-RIK Date: _Oct 27, 2003 .
Title: USA -v- Shell Oil Co., et al —
PRESENT :

THE HONORABLE ROBERT J. KELLEHER, U.S. DISTRICT JUDGE

 

 

 

Debra L. O'Neill _ _Lisa Gonzales

Courtroom Clerk Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
Michael Zerenberger Peter R. Taft

Joshua M. Levin
Thanne Cox
Timothy R. Patterson

PROCEEDINGS: STATUS CONFERENCE

The matter before the Court is the Parties’ Joint Request for Status
Conference (“Joint Request”). In the Joint Request, the Parties brought the
following issues to the Court’s attention:

(1) whether further allocation proceedings regarding the non-benzol waste
cleanup costs are warranted;

(2) whether the United States and the State of California are entitled to
unreimbursed response costs; and

(3) whether the Oil Companies’ will pursue their non-CERCLA counterclaims
against the United States.

On October 27, 2003, the Court conducted a Status Conference. Having
considered the arguments advanced in the Joint Request as well as those
presented during the Status Conference, the Court hereby DENIES the request
made by Defendants for further allocation proceedings regarding the non-
benzol waste cleanup costs. Based on the representations made by the Parties
during the Status Conference, the Court hereby DEFERS taking any further
action concerning issues (2)and (3).

IT IS SO ORDERED.

 

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